Case 2:96-cV-02520-.]PI\/| Document 849 Filed 08/09/05 Page 1 of 3 Page|D 1651

IN THE UNITED STATES DISTRICT COURT D_Q,
FOR THE: wE:sTERN DISTRICT oF TENNESSEE \=k\.l=.DB"f

WESTERN DIVISION .
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DARIUS D. LITTLE,
Plaintiff,
v. No. 96-2520 Ml/P

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

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ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Wanda J.
Kilgore-Schneider, has submitted an invoices for fees and
expenses incurred in connection with this matter for the months
of October, November, and December of 2004, in the amounts of
$5,740.62, $4,129.28, and $3,851.47. Accordingly, the Clerk of
Court is directed to send the total amount of $13,721.37 to the
Assistant Special Master, Wanda J. Kilgore-Schneider at, 65

Sunhaven Drive, Jackson, Tennessee, 38305.

IT IS SO ORDERED THIS Z§; DAY OF August, 2005.

19 M“O@L

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance
with nme 58 and/or rs(a) FHCP on ' “ 5

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 849 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

